        Case 18-58335-jwc              Doc 17       Filed 07/02/18 Entered 07/02/18 10:54:38                          Desc Ntc.
                                                  Proof of Claim Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT

                                                    Northern District of Georgia


In Re: Debtor(s)
       Kenneth Paul Wellington                                         Case No.: 18−58335−jwc
       3301 Forrest Hills Dr                                           Chapter: 7
       Atlanta, GA 30354−1200                                          Judge: Jeffery W. Cavender

       xxx−xx−2559



                                              NOTICE SETTING DEADLINE FOR
                                                FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                              Non−government proof of claim: 10/1/18




                                                Government proof of claim: 11/13/18


                                               File with:
                                               United States Bankruptcy Court
                                               1340 United States Courthouse
                                               75 Ted Turner Drive SW
                                               Atlanta, GA 30303


  Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                        (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                         If you have already filed your proof of claim, it is not necessary to refile.




                                                                                               M. Regina Thomas
                                                                                               Clerk of Court
                                                                                               U.S. Bankruptcy Court
Dated: July 2, 2018
Form ntcpoc
